Case: 1:04-CV-06804 Document #: 144 Filed: 05/16/07 Page 1 of 1 Page|D #:1020

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

THOMAS DUNN, et al,

Plaintiffs,

JU®GE GETTLEMAN

)
)
)
)
)
v. ) 04 C 6804
}
CITY OF CHICAGO, }
)
)

Defendant. JURY TRIAL DEMANDED

NOTICE OF FILING
TO:

Saza Ellis

City cf Chicago D@partment cf Law
30 North LaSalle Str@et

Chicago, Illinois 60602

Plea$e take notice that on May 16, 200? 1 caused the
attached Plaintiff’$ OPPOSiticn To The City’s Mction Fcr
Extension Of Time to be filed electronically with the clerk cf
court.

/S/ Michael Kanovitz
Michael Kanovitz
LOEVY & LOEVY
312 North May Street
Suite iDO
Chicagc, IL 60607
(3§2) 243-5900

CERTIFICATE OF SERVICE

I, Michael Kanovitz, an attorney, certify that en May
16, 2007, I carved the attached Notice by electronic filinq.

gngich§el K§ncvitz

Michael Kancvitz

